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                                         UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF TEXAS
                                              SHERMAN DIVISION

 UNITED STATES OF AMERICA,                            )
           Plaintiff,                                 )
                                                      )
 v.                                                   )      Case No.: 4:19-cv-00415
                                                      )
 ALEXANDURE BITTNER                                   )
          Defendant.                                  )


                                DEFENDANT ALEXANDRU BITTNER’S
                             MOTION FOR PARTIAL SUMMARY JUDGMENT




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                                         UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF TEXAS
                                              SHERMAN DIVISION

 UNITED STATES OF AMERICA,                            )
           Plaintiff,                                 )
                                                      )
 v.                                                   )        Case No.: 4:19-cv-00415-
                                                      )
 ALEXANDURE BITTNER                                   )
          Defendant.                                  )


                                DEFENDANT ALEXANDRU BITTNER’S
                             MOTION FOR PARTIAL SUMMARY JUDGMENT

           Defendant Alexandru Bittner (“Defendant” or “Mr. Bittner”) submits his Motion for

Partial Summary Judgment and would respectfully show the Court as follows:

           This case arises out of Mr. Bittner’s failure to file an annual Report of Foreign Bank and

Financial Accounts (“FBAR” or “FBAR form”) for the years 2007-2011. Although the

government determined that Mr. Bittner’s failure to timely file FBARs was non-willful, it

ignored the plain language of the statute capping the maximum non-willful penalty at $10,000

per year and assessed $2,700,000 in FBAR penalties for Mr. Bittner’s innocent or, at worst,

negligent failures.

                         I. STATEMENT OF UNDISPUTED MATERIAL FACTS

           Mr. Bittner was born in Romania in 1957 where he lived until 1982 during the

communist era. In early 1982, he immigrated to the United States to escape the communist

regime and discrimination against Jews. Mr. Bittner became a naturalized citizen in 1987.

While living in the United States, Mr. Bittner worked as a dishwasher and a plumber, eventually

earning his master plumbing certificate. In 1990, the Romanian Revolution occurred and the fall

of communism there. After living in the United States for eight years (three as a naturalized

citizen), Mr. Bittner returned to Romania believing there would be an opportunity for a better life

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in his home country. Mr. Bittner remained in Romania until 2011. Exhibit A, Bittner

Declaration at ¶1.

           During the two decades Mr. Bittner lived in Romania he visited the United States on a

few occasions to see family and to celebrate his 50th birthday. Mr. Bittner had never heard of

FBAR forms, much less that as a naturalized U.S. citizen living abroad he was required to file

them.1 In the 1990s, when Mr. Bittner resided in Romania, his sister, or his brother-in-in law,

sent him some Form 1040 tax returns to sign, reporting small amounts of U.S. source income

from a minority interest in a restaurant they owned. Id. at ¶2.

           Shortly after Mr. Bittner returned to the United States, he discovered that he had been

required to file tax returns reporting income earned abroad. As a result, he searched for an

accountant who had experience with U.S. citizens living and earning money abroad. This search

led him to hire Mr. Jeff Beckley (“Beckley”), a CPA whose website stated that he had expertise

to advise individuals in situations such as Mr. Bittner’s, to regain compliance with U.S. law. Mr.

Bittner told Beckley that he had foreign income, bank accounts, and business interests and

provided Beckley with all the information and documents he requested. Beckley prepared Form

1040, tax returns, for the years 1990-2011. Beckley also told Bittner that he needed to file

FBARs reporting certain foreign bank accounts, and Beckley prepared those for 1996-2011. Mr.

Bittner signed the Form 1040s and FBARs, and Beckley filed them on his behalf. Id. at ¶3.

           Unknown to Mr. Bittner at the time, Beckley made numerous errors in preparing the tax

returns and FBARs. Beckley mistakenly determined that under the United States/Romania Tax

Treaty (the “Treaty”), Mr. Bittner’s income in Romania was taxable only by Romania, not the

United States. Accordingly, Beckley reported Mr. Bittner’s gross income, but backed that


1
    The IRS acknowledged as much when it determined that Mr. Bittner’s failure to file the FBARs was non-willful.


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amount out of the returns, attaching a statement that the income was not taxable in the United

States under the Treaty. In addition, even though Mr. Bittner provided Beckley with a schedule

of all personal bank accounts he had in Romania, Beckley prepared FBARs disclosing only the

bank account with the highest balance for each year. Beckley never explained to Bittner that he

was treated as having a “financial interest” in bank accounts held by foreign corporations for

which he owned more than 50 percent of the stock. Beckley made these grossly negligent errors,

as he was not competent to provide Bittner the services he advertised. Id. at ¶4.

           When the tax returns were filed, the IRS disallowed the claimed Treaty exclusion and

assessed and billed Bittner $6,042,878 in taxes, penalties and interest. He then engaged tax

counsel and a new CPA firm. On September 12, 2013, Mr. Bittner filed amended tax returns for

the years 2006-2011, which took nearly 9 months to prepare because of their complexity.

Primarily because of foreign tax credits and capital losses, those tax returns showed total tax due

of $625, which Mr. Bittner paid at that time. On September 25, 2013, Mr. Bittner filed corrected

FBARs prepared by the new CPA, who checked the box that he had a financial interest in 25 or

more foreign accounts, which were his personal accounts and accounts held by corporations

which he owned more than 50 percent of. As Mr. Bittner was just an investor, he did not have

signatory authority over any of the corporate accounts. Although the FBAR instructions required

that Mr. Bittner only state the number of accounts for which he had financial interest in, he also

attached a schedule disclosing all foreign bank account information and balances on advice of his

undersigned counsel. Many of the bank accounts disclosed had balances well below $10,000,

including some with as little as $1. The IRS found that Mr. Bittner’s failure to file FBARs was

non-willful, which means such failures were innocent or, at worst, negligent. Id. at ¶5.




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           The IRS issued Mr. Bittner a notice of deficiency regarding his proposed income tax

liabilities. In response, he filed a petition in the United States Tax Court. That petition was

assigned docket number 19894-17. An agreed decision was entered in that case on November

12, 2019. With respect to the years for which the IRS seeks to impose FBAR penalties (2007-

2011), the agreed decision found no income tax deficiencies for the years 2008, 2009 and 2010,

and tax deficiencies of $46,385.88 for 2007 and $127,000 for 2011, all of which Mr. Bittner has

paid. Id. at ¶6.

           On June 8, 2017, the IRS assessed FBAR penalties against Mr. Bittner totaling

$2,720,000, computed on a per account basis for Mr. Bittner’s non-willful failure to timely file

FBARs for 2007-2011. Dkt. 1, Complaint at ¶¶27–31. In calculating the penalty assessments,

the IRS examining agent relied solely upon bank account information and corrected FBARs

voluntarily supplied by Mr. Bittner in 2013. Exhibit B, Excerpt of Deposition of Anh Reach, at

p. 26-27, 35-36, and 40-42. On June 6, 2019 the government filed the instant lawsuit in an

attempt to collect against Mr. Bittner the nearly $3,000,000 of assessed FBAR penalties (plus

accrued interest) for his non-willful and innocent failure to timely file 5 FBAR forms. See Dkt.

1, Complaint at ¶¶27–31.

                                         II. STATEMENT OF THE ISSUE

           Does 31 U.S.C. 5321(a)(5)(B)(i) limit the maximum penalty that can be assessed for a

non-willful failure to timely file an FBAR to $10,000? Resolution of this issue will limit the

government’s claim in this suit to a maximum of $50,000 instead of $2,700,000.

                                            III. LEGAL STANDARD

           Rule 56(c) of the Federal Rules of Civil Procedure requires the granting of summary

judgment if “the pleadings, depositions, answers to interrogatories, and admissions on file

together with the affidavits, if any,” show that there is no genuine issue as to any material fact

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and that the moving party is entitled to judgment as a matter of law. Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986) (citing FED. R. CIV. P. 56(c)).

                                         IV. ARGUMENT AND AUTHORITIES

A.         The Statutory and Regulatory Schemes Regarding FBARs

           1.    Overview

           The Bank Secrecy Act (“the BSA”) was enacted by Congress in 1970. Pub. L. 91-508, 84

Stat. 1114 and amendments (31 U.S.C. §§ 5311–5325). The BSA and its regulations,

promulgated by the Department of Treasury, require individuals to report certain foreign bank

accounts on an annual Report of Foreign Bank and Financial Accounts ‒ commonly known as an

“FBAR.” See 31 U.S.C. § 5314(a); 31 C.F.R. § 1010.350(a). The FBAR reporting form was

designated TD F 90-22.1. See id. A copy of the applicable Forms TD F 90-22.1 and

accompanying instructions are attached as Exhibit C (Rev. July 2000), Exhibit D (Rev. October

2008), and Exhibit E (Rev. January 2012). 2 In general, the applicable FBAR rules require

citizens and residents who have a financial interest in, or signature or other authority over, one or

more bank accounts in a foreign country with an aggregate balance exceeding $10,000 (at any

point in the year) to file an annual FBAR form, identifying specific information for each account

or, if the person has 25 or more reportable accounts he is required to simply state the number of




2
  Effective October 1, 2013, the FBAR form was changed to FinCEN Form 114, which requires substantially the
same information. A copy of FinCEN Form 114 (OMB No. 1506-0009, Effective October 1, 2013) is attached as
Exhibit F. Mr. Bittner’s late FBARs for the years at issue were filed on Form TD F 90-22.1 (Rev. January 2012).
If filed timely, Mr. Bittner’s 2007 FBAR would have been filed on Exhibit C, Form TD F 90-22.1 (Rev. July 2000);
his 2008-2010 would have been filed on Exhibit D, TD F 90-22.1 (Rev. October 2008); and his 2012 FBAR would
have been filed on Exhibit E, Form TD F 90-22.1 (Rev. January 2012).


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accounts and to retain the account-related information.3 Prior to the 2016 reporting year, FBARs

were due on June 30th of the following year.4

           Before 2004 only willful failures to file an FBAR were penalized. The penalty was the

greater of $25,000 or half the amount in the account, but not more than $100,000. 31 U.S.C. §

5321(a)(5), amended by Pub. L. No. 108-357 (2004). There was no penalty at all for a non-

willful failure to file, whether innocent or negligent. In 2004, Congress increased the willful

penalty to the greater of $100,000 or 50 percent of the balance in the reportable account(s) at the

time of the violation, with no cap. See American Jobs Creation Act of 2004, Pub. L. No. 108-

357, § 821(a), 118 Stat. 1418 (2004). In addition, Congress added, for the first time, a penalty

for non-willful violators, stating that “the amount of any civil penalty imposed under

subparagraph (A) [non-willful violations] shall not exceed $10,000.” Id. (emphasis added). That

express limitation, along with the fact that Congress intentionally distinguished willful

violations, evidences that the purpose of adding a non-willful penalty provision was to promote

greater FBAR compliance and deter unintentional mistakes but not to “throw the book” at

persons who made such mistakes.

           2.    Specific Statutes and Regulations

           The BSA directed the Secretary of the Treasury to promulgate regulations imposing

reporting requirements on U.S. citizens and residents who maintain foreign bank accounts,

among other things:

           Considering the need to avoid impeding or controlling the export or import of
           monetary instruments and the need to avoid burdening unreasonably a person
           making a transaction with a foreign financial agency, the Secretary of the
3
 The 2008 and 2012 versions of Form TD F 90-22.1 also instructed that the filer check a yes or no box to indicate
whether he had a financial interest in 25 or more financial accounts. See Exhibits D and E.
4
 31 C.F.R. § 1010.306(c), amended by Surface Transportation and Veterans Health Care Choice Improvement Act
of 2015, Pub. L. 114-41, § 2006(b)(11), 129 Stat. 443 (2015) (changing the FBAR due date to April 15th of each
year with a sixth month extension allowed).


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           Treasury shall require a resident or citizen of the United States or a person in, and
           doing business in, the United States, to keep records, file reports, or keep records
           and file reports, when the resident, citizen, or person makes a transaction or
           maintains a relation for any person with a foreign financial agency.

31 U.S.C. § 5314(a) (emphasis added). The corresponding regulation provides:

           Each United States person having a financial interest in, or signature or other
           authority over, a bank, securities, or other financial account in a foreign country
           shall report such relationship to the Commissioner of Internal Revenue for each
           year in which such relationship exists and shall provide such information as shall
           be specified in a reporting form prescribed under 31 U.S.C. 5314 to be filed by
           such persons. The form prescribed under section 5314 is the Report of Foreign
           Bank and Financial Accounts (TD-F 90-22.1), or any successor form.

31 C.F.R. § 1010.350(a) (emphasis added).

           The BSA regulations further explain, “Reports required to be filed by § 1010.350 shall be

filed with FinCEN . . . with respect to foreign financial accounts exceeding $10,000 maintained

during the previous calendar year.” 31 C.F.R. § 1010.306(c). Although this regulation refers to

“foreign financial accounts exceeding $10,000,” the FBAR form instructions clarify that this

$10,000 or more threshold is not determined on a per account basis, but, rather, on an aggregate

value basis, considering all foreign accounts for which a person has a financial interest in, or

signature or other authority over. See Exhibits C, D, and E (Instructions). Whether an

individual has multiple foreign bank accounts with a total balance over $10,000 or only one

account with such balance, all reportable accounts are included on a single annual FBAR form.

See id.; see also 31 C.F.R. §§ 1010.350(a); 1010.306(c).

           In general, the FBAR rules require that the filer include specific information about each

reportable foreign account including, the name and address of the financial institution; the

account number; and the highest USD balance during the year. See Exhibits C, D, and E

(Instructions). However, a special rule modifies those general information reporting obligations

where a person has “a financial interest in 25 or more accounts.” 31 C.F.R. § 1010.350(a). In


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that event, the filer is only required to identify himself and the number of reportable accounts,

without any additional details regarding the bank accounts, which information shall only be

provided upon specific request by the Secretary:

           (1) Financial interest in 25 or more foreign financial accounts. A United States
           person having a financial interest in 25 or more foreign financial accounts need
           only provide the number of financial accounts and certain other basic information
           on the report, but will be required to provide detailed information concerning each
           account when so requested by the Secretary or his delegate.

31 C.F.R. § 1010.350(g)(1).

           Form TD F 90-22.1 asks whether the filer has “a financial interest in 25 or more financial

accounts.” Exhibits D and E. If the answer is “yes,” the form instructions provide that the box

should be checked, but the filer should “not complete Part II or Part III” of the form, in which

parts, the detailed information over the bank accounts is ordinarily provided, but should merely

“retain records of this information:”




                                                                                                             5


The instructions provide that a filer has a financial interest in an account held by a corporation if

the filer owns more than 50 percent of the corporation’s stock.                    See Exhibits D and E

(Instructions).

           3.    Application to Mr. Bittner

           Since Mr. Bittner had financial interests in 25 or more accounts in each of the years at

issue, he should have timely filed a single Form TD F 90-22.1 FBAR for each year at issue,

providing information regarding himself and identifying the number of accounts he had. See id.



5
    Exhibit D, Form TD F 90-22.1 (Rev. October 2008) and Exhibit E, Form TD F 90-22.1 (Rev. January 2012).


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and Exhibit C. For the years 2008-2011, the applicable Form TD F 90-22.1 also required him to

check a box indicating that he had a financial interest in 25 or more accounts. See Exhibits D

and E. The Form TD F 90-22.1 instructions for all years at issue provided that he was just to

enter the number of accounts but he was not to complete the sections of the form that include

account specific information.6 However, in addition to filing corrected FBARs in September of

2013 for reporting years 2007-2011, Mr. Bittner also voluntarily reported specific information

for each account in which he had a financial interest. See Exhibit A at ¶5; Exhibit B at p. 35-36,

40-42.

B.         The Maximum Penalty Under the Statute for a Non-Willful Failure to Timely File an
           FBAR is $10,000 per Form

           Mr. Bittner was required to file a single FBAR each year for the 2007-2011 reporting

years, simply identifying the number of foreign bank accounts he had a financial interest in. He

non-willfully failed to timely file such Forms. Each failure to file an annual FBAR was a single

“non-willful act” for which the maximum penalty was up to $10,000, with a maximum aggregate

penalty of $50,000.7 See United States v. Shinday, Case No. 2:18-cv-06891-CAS-Ex, 2018 WL

6330424, at *2 (C.D. Cal. Dec. 3, 2018) (assessing a penalty of $10,000 per year for 2007-2011

for non-willful failures to file an FBAR despite the defendants having “as many as twenty-nine




6
 See Exhibits C, D, and E. Mr. Bittner filed corrected FBARs for 2007-2011 in September of 2013, which was
approximately one month before FinCEN Form 114 was released. See Exhibit E. The 2013 FinCEN Form 114,
contained identical instructions with respect to a filer who had a financial interest in 25 or more accounts, but it also
asked if the filer had “signature authority” but not a financial interest in 25 or more accounts, in which case he
would be required to provide account information for such accounts. See id. Had Mr. Bitter completed the 2013
FinCEN Form 114 for his late filed FBARs, his limited reporting duties would have been identical because he did
not have signatory authority over any accounts in which he did not also have a financial interest.
7
 This issue appears to be a matter of first impression in this Court and the Fifth Circuit. However, the same issue is
on appeal in the Ninth Circuit in Boyd v. United States, 2019 WL 1976472 (C.D. Cal. Apr. 23, 2019), on appeal (9th
Cir. No. 19-55585).


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and as few as seven fixed deposit accounts at the State Bank of India from the years 2005 to

2011”) (internal citations and quotations omitted).

           Indeed, 31 U.S.C. Section 5321(a)(5) is entitled “Foreign Financial Agency Transaction

Violation,” and authorizes the Secretary of the Treasury to “impose a civil monetary penalty on

any person who violates, or causes any violation of, any provision of section 5314.” Emphasis

added. In the case of non-willful violations, “the amount of any civil penalty imposed under

subparagraph (A) shall not exceed $10,000.” 31 U.S.C. § 5321(a)(5)(B)(i). For willful

violations, the penalty is the greater of $100,000 or 50 percent of the balance in the reportable

account(s), with no cap. See 31 U.S.C. § 5321(a)(5)(C).

           Further, the statute explicitly provides that the non-willful penalty of up to $10,000 may

not be imposed if the person had “reasonable cause” for the violation and “the amount of the

transaction or the balance in the account at the time of the transaction was properly reported.” 31

U.S.C. § 5321(a)(5)(B)(ii). Thus, if an individual innocently or negligently fails to file an

FBAR, he can avoid any penalty if he had reasonable cause and subsequently reports the

account(s), as Mr. Bittner did here. See Exhibit A at ¶5.8

           As shown above, the plain language of the statute imposes “a civil monetary penalty on

any person who violates, or causes any violation of, any provision of section 5314.” 31 U.S.C. §

5321(a)(5)(A) (emphasis added). Therefore, “a penalty” can be imposed for “any violation” of

Title 31, Section 5314, whether that violation be filing a false report or failing to file a report at

all. The amount of the authorized penalty depends on whether the violation was willful or non-

willful. Compare 31 U.S.C. § 5321(a)(5)(B) with 31 U.S.C. § 5321(a)(5)(C).




8
  Although we contend that Mr. Bittner is not liable for any penalty because of the reasonable cause safe harbor, that
factual issue is not raised in this motion.


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           Mr. Bittner non-willfully failed to timely file 5 FBARS for the years 2007-2011. Those

violations are subject to a maximum penalty of up to $10,000 per year, or a $50,000 maximum

penalty in the aggregate. The government, however, contends that the penalty for non-willful

failure to timely file an FBAR form is based on the number of accounts not reported, and it has

levied a penalty of $10,000 for each account Mr. Bittner failed to timely report. Dkt. 1,

Complaint at ¶¶27–31. The government is wrong. This extreme interpretation led to the

imposition of nearly $3,000,000 in penalties for innocent failures to timely file 5 FBARs;9 forms

which only required Mr. Bittner to identify himself and report the number of accounts he had a

financial interest in.

C.         The Legislative History of Section 5321 Supports Mr. Bittner’s Position that the
           Maximum Penalty is $10,000 per Form

           As noted above, prior to 2004, no penalty was imposed for non-willful failures to file an

FBAR. Only “willful” violations were penalized, allowing the government to impose “a civil

penalty” on any person who willfully violated this reporting requirement, with a minimum

penalty of $25,000 and “a maximum” penalty of $100,000. 31 U.S.C. § 5321(a)(5), amended by

Pub. L. No. 108-357 (2004). As stated in the 2004 House Report:

           The Secretary may impose a civil penalty on any person who willfully violates
           this reporting requirement. The civil penalty is the amount of the transaction or
           the value of the account up to a maximum of $100,000; the minimum amount of
           the penalty is $25,000…

H.R. REP. 108-548(I), at 275 (2004). The individual could also be criminally charged for such

willful conduct. Id.




9
 Mr. Bittner denies that he had signature authority, a financial interest in, or control over many of the bank accounts
alleged by the government. See Dkt. 13, Defendant Alexandru Bittner’s First Amended Answer, at ¶¶12–28.
Further, as a result of accruing interest the amount at issue is currently well over three million dollars.


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           Thus, before the 2004 Act, an individual who willfully violated the reporting

requirements, whether that be by willfully filing a false report or willfully failing to file a report,

would be subject to a single penalty of $25,000 to $100,000. Non-willful failures to file,

however, were not subject to any civil penalty.

           The House Committee in 2004, after discussing the proliferation of various abusive tax

schemes, including “taxpayers with offshore bank accounts attempting to conceal income from

the IRS,” stated:

           Adding a new civil penalty that applies without regard to willfulness will improve
           compliance with this reporting requirement.

           Explanation of Provision
           The provision adds an additional civil penalty that may be imposed on any person
           who violates this reporting requirement (without regard to willfulness). This new
           civil penalty is up to $5,000…

H.R. REP. 108-548(I), at 275 (2004) (emphasis added). Ultimately, the Conference Committee

increased the maximum civil penalty for a non-willful act up to $10,000. H.R. CONF. REP. NO.

108-755, at 1668 (2004).

           In short, the legislative history of the 2004 Act demonstrates that Congress intended to

provide a modest penalty for non-willful conduct, to encourage compliance, but not, as the

government now argues, to increase the penalty from nothing to an unlimited amount.

D.         The Non-Willful Failure to Timely File an FBAR Is Not Multiple Violations of the
           Law; Thus Mr. Bittner Committed Only Five Violations from 2007-2011, Not 272
           Separate Violations

           Admittedly, Mr. Bittner was required to file an annual FBAR for 2007-2011. His failure

to file that Form in each year was a single “non-willful act,” violating a single regulation,

resulting in only one annual violation for each of the five years at issue ‒ not 272 separate

violations as the government asserts. Dkt. 1, Complaint at ¶29. Thus, Mr. Bittner is liable for a




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maximum penalty of $10,000 per year for each of the five years at issue, an aggregate maximum

of $50,000.

           The government’s position is that a person who fails to timely file an FBAR has failed to

timely disclose the existence of his reportable foreign bank accounts to the government and thus

has committed a separate “violation” of the law for each reportable account. This position is

directly contrary to the statutory language which, as detailed above, imposes “a civil monetary

penalty” – in the singular – on any person who violates “any provision of section 5314.” 31

U.S.C. § 5321(a)(5) (emphasis added). Moreover, “the amount of any civil penalty imposed …

[for a non-willful violation] shall not exceed $10,000.” Id. (emphasis added).

           The government’s position is also in conflict with the legislative history, which shows

that Congress was concerned there was no penalty at all for non-willful FBAR compliance

failures and intended to impose a modest penalty to encourage compliance. Congress viewed

non-willful failures to file FBAR forms as relatively minor infractions, appropriately so, and

directed the Secretary to treat them as such by limiting the total assessable penalty to $10,000.

           Rather than follow the plain language of the statute and the legislative history, the

government now seeks to multiply 5 non-willful reporting violations – 5 instances of not timely

filing an annual FBAR – into 272 distinct acts by arguing that each bank account not reported

was a separate act and therefore separately punishable. This is not only legally wrong, it is

absurd. The government admits that Mr. Bittner’s conduct was non-willful. That means it was

innocent or, at very worst, negligent. He, like many other dual citizens living abroad, was

unaware of any obligation to file FBAR forms – indeed, he had never heard of those forms until

he returned to the United States in 2011. Yet, the IRS imposed 272 distinct $10,000 penalties on

Mr. Bittner for his unintentional failure to file annual FBARs for the years at issue, amounting to



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almost $3,000,000, using information he voluntarily supplied to IRS in an effort to come into

compliance with his FBAR obligations before he was formally asked to do so by any

government agency.10 See Exhibit A at ¶5; Exhibit B at p. 35-36, 40-42. This situation cannot

be reconciled with Congress’ conclusion that “the maximum additional civil penalty for a non-

willful act is up to $10,000.” H.R. CONF. REP. NO. 108-755, at 1668 (2004).

E.         A “Per Account” Penalty Stands at Odds with the Actual Filing Threshold and the
           Government’s Own Authorities

           A “per account” penalty is especially absurd in Mr. Bittner’s case, since he was required

only to file a single FBAR annually, checking a box on line 14 of the Form and stating the

number of reportable accounts he had. The Form instructed him to only to enter the number of

accounts and not to report any other account information or balances.

           As explained above, the number of foreign bank accounts held by a person is irrelevant

for purposes of determining whether that person is required to file an FBAR. An individual could

have 25 foreign bank accounts in a given year, but if the aggregate value of those foreign

accounts never exceeded $10,000, that person is not required to file an FBAR. An FBAR is

required to be filed only if the aggregate value of the foreign accounts exceeds $10,000 – the

filing requirement is not triggered based on the number of accounts the individual holds. See 31

C.F.R. §1010.306(c); Exhibits C, D, and E (Instructions). There is no logical basis for imposing

a “per account” penalty when the number of accounts bears no significance in determining


10
   In a Tax Court case alleging total tax deficiencies for the years here in issue, the IRS agreed that Mr. Bittner’s tax
liabilities ultimately owed for the years at issue in this suit were (all of which has been paid):
 Tax year     Deficiency
 2007         $46,386
 2008         0
 2009         0
 2010         0
 2011         $127,000
See Exhibit A at ¶6.


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whether an FBAR is even required to be filed. This is particularly true in the absence of any

statutory language which allows a penalty for a non-willful failure to timely file an FBAR to be

penalized “per account.”

           Moreover, several of the government’s own pronouncements support Mr. Bittner’s

position, in accordance with the statute, that the maximum civil penalty for a non-willful failure

to timely file an accurate FBAR is $10,000. FBAR guidance provided by FinCEN states, “A

person who is required to file an FBAR and [non-willfully] fails to properly file may be subject

to a civil penalty not to exceed $10,000.” Exhibit G, Financial Crimes Enforcement Network;

Amendment to the Bank Secrecy Act Regulations-Reports of Foreign Financial Accounts, 75 FR

8844-01, 2010 WL 667290, at *8854 (Feb. 26, 2010). The Form TD F 90-22.1 FBAR

instructions also provide: “A person who is required to file an FBAR and fails to properly file

may be subject to a civil penalty not to exceed $10,000 per violation.” Exhibit D; see also

Exhibit H, IRS Fact Sheet 2014-7, Offshore Income and Filing Information for Taxpayers with

Offshore Accounts, (June 2014), which states:

           Failure to report the existence of offshore accounts or pay taxes on these accounts
           can lead to civil and criminal penalties.
           …
           For the FBAR, the penalty may be up to $10,000, if the failure to file is non-
           willful …

Id.

           Congress knows how to draft a penalty imposed on a per item basis. See e.g., 26 U.S.C.

§ 6699 (imposing a penalty for failure of an S Corporation to file a timely income tax return

(From 1120S), which is an information return similar to an FBAR, computed by multiplying

$195 by the number of shareholders in the S Corporation during any part of the taxable year); 26

U.S.C. § 6704 (imposing a penalty for failure to keep records computed by multiplying $50 by

the number of persons for whom records are required to be kept).

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           In the case of willful conduct, Congress expressly tied the willful penalty to “accounts,”

imposing “in the case of a violation involving a failure to report the existence of an account or

any identifying information required to be provided with respect to an account,” a penalty of 50

percent of “the balance in the account at the time of the violation.” 31 U.S.C. § 5321(a)(5)(D).

           Here, Congress, as it has done in the past, could have chosen to impose a non-willful

penalty for the failure to timely file an FBAR that is computed based on the number of foreign

accounts an individual maintains or their balances in those accounts. However, Congress did not

do that. There is simply no support in the statute, regulations, forms or other IRS documents that

a non-willful penalty is based on the number of accounts involved. Congress did not include in

31 U.S.C. §5321(a)(5)(A) and (B) any language that is comparable to the explicit language

contained in the “per item” violation statutes noted above, or in 31 U.S.C. § § 5321(a)(5)(C) and

(D). The absence of any such language strongly indicates that a non-willful penalty for a failure

to timely file an FBAR is not computed on a “per account” basis.

F.         The Government’s Interpretation of the Non-Willful Failure to File Penalties is at
           Odds with its Interpretation of the Criminal Penalties

           The failure to file an FBAR can also lead to criminal penalties under 31 U.S.C. § 5322.

A willful failure to file an FBAR can lead to a fine of not more than $250,000 or imprisonment

for not more than five years, or both. 31 U.S.C. § 5322(a). A willful violation, coupled with a

pattern of illegal activity, can lead to a fine of not more than $500,000 or imprisonment for not

more than ten years, or both. 31 U.S.C. § 5322(b). However, to Defendant’s knowledge, the

government has never criminally charged an individual based on the number of foreign accounts

the individual failed to disclose on an FBAR. Instead, the government routinely asserts that each

year in which an FBAR was not filed constitutes a single “violation” under §5322 – even if the

criminal defendant failed to disclose more than one foreign account. It defies logic that a non-


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willful civil penalty is assessed against each unreported account while the criminal penalty is

based on a single FBAR form.

G.         The Government’s Position Will Lead to Absurd Results and Inconsistent Treatment
           of Similarly Situated Taxpayers – As is Clearly Demonstrated in this Case

           This case is a disturbing example of a worst-case scenario that results under the

government’s overly broad interpretation of 31 U.S.C. § 5321(a)(5)(B)(i). Here, the government

alleges that Mr. Bittner owes nearly three million dollars in civil penalties for his non-willful

failure to timely file a single FBAR form in each of the years at issue. An FBAR form, as

described above, where Mr. Bittner was not required to disclose the details of any of his

reportable foreign accounts. Instead, he was simply to check a box on the annual FBAR form

indicating that he had 25 or more reportable accounts and state the number. Consequently, had

Mr. Bitner timely filed FBARs, they would have been of no practical value to the government

unless he was audited under Title 31 and asked to produce the underlying account-related

information. Indeed, Mr. Bittner voluntarily provided such information in September of 2013,

prior to any such audit. Of course, application of this logic does not, on its own, mean that Mr.

Bittner is not subject to any penalties under the statute for his late filed FBARs; however, it

further highlights the dramatically disproportionate punishment imposed upon him compared to

the nature of any theoretical harm. This point is particularly relevant when considering that Mr.

Bittner did not reside in this country for over 20 years and could not be reasonably expected to

know about his FBAR obligations while living in Romania, his country of origin. When he

returned to live in the U.S., he took prudent steps to address his noncompliance and by

September of 2013 had voluntarily filed corrected FBARs for 2007-2011, identifying the number

of reportable accounts along with the underlying account information. See Exhibit A at ¶5;

Exhibit B at p. 35-36, 40-42. Mr. Bitter’s case exemplifies the government’s limitless


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opportunity for overreach if it is allowed to continue with its draconian interpretation of 31

U.S.C. § 5321(a)(5)(B)(i).

           Additionally, the “per account” penalty has already led to inconsistent treatment of

similarly situated taxpayers. This is clear when one compares this case with United States v.

Shinday, Case No. 2:18-cv-06891-CAS-Ex, 2018 WL 6330424, at *2 (C.D. Cal. Dec. 3, 2018).

There, a husband and wife, had a UBS account in Switzerland from 2005-2008. Id. at *2. In

addition, they also had “as many as twenty-nine and as few as seven fixed deposit accounts at the

State Bank of India from the years 2005 to 2011.” Id. However, they failed to “file FBARs for

each of the years 2005 through 2011.” Id. As a result, the government assessed non-willful

FBAR penalties against the wife, Mrs. Shinday, for the years 2007-2011. “Each penalty was

$10,000, totaling $50,000.” Id. The total penalties that could have been assessed on Mrs.

Shinday, according to the government’s interpretation, were as much as $300,000 for one year.

But, instead, the government applied the statute as it reads.

           The years penalized in Shinday, 2007-2011, are the same years for which Mr. Bittner was

penalized and both cases involve non-willful conduct. Despite this, Mr. Bittner is being

penalized $2.6 million dollars more than Mrs. Shinday. These two starkly different outcomes

demonstrate the absurdity of the government’s position in this case. Under no circumstances

should such a monumental disparity in penalties exist for comparable non-willful conduct.

           Moreover, under the government’s interpretation, an individual who willfully fails to file

an FBAR could face lower penalties than one who commits a non-willful violation, even when

the aggregate account balance at issue is less for the non-willful person. For example, consider

an individual who maintains a foreign account with $150,000 and willfully fails to file a timely

FBAR. In such instance, the maximum penalty is $100,000. 31 U.S.C. § 5321(a)(5)(C)(i).



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However, another individual who non-willfully failed to file an FBAR and maintained twenty

foreign accounts with a high aggregate balance of $70,000 would face a penalty of $200,000 –

double the amount of the willful actor – under the government’s reasoning. This cannot be a

result Congress intended.

           In sum, this Court should not follow the government’s illogical interpretation which leads

to absurd and unreasonable results. See In re Ripley, 926 F.2d 440, 448 (5th Cir. 1991) (“A

leading statutory construction treatise states that unreasonableness of the result produced by one

among alternative possible interpretations of a statute is reason for rejecting that interpretation in

favor of another which would produce a reasonable result.”); Sierra Club v. Train, 557 F.2d 485,

490 (5th Cir. 1977) (“Proper statutory construction requires more than linguistic examination and

review of the rules of statutory construction. The interpretation should be reasonable, and where

the result of one interpretation is unreasonable, while the result of another is logical, the latter

should prevail.”) (citations omitted); see also M. Kummer & S. Mezei, The Non-Willful FBAR

Per-Account/Per-Form Issue Deserves Closer Scrutiny, Tax Notes Federal (July 14, 2019).

H.         Statutes Imposing Penalties Are Strictly Construed Against the Government and the
           Rule of Lenity Requires that any Ambiguity be Resolved in the Defendant’s Favor

           The statute, regulations and form instructions unambiguously impose a maximum penalty

of $10,000 for a non-willful failure to file an FBAR form, and not a $10,000 penalty per account

or per item of information. Assuming, arguendo, that there were any ambiguity in the statute,

the Court should resolve the issue in Mr. Bittner’s favor.

           As the Supreme Court stated, when considering a tax penalty, “[t]he law is settled that

penal statutes are to be construed strictly . . . and that one is not to be subjected to a penalty

unless the words of the statute plainly impose it.” Commissioner v. Acker, 361 U.S. 87, 91

(1959) (internal quotations and citations omitted). Acker involved a similar situation. The


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taxpayer failed to file a required a form making a declaration of estimated income tax. Id. at 90.

The IRS imposed a penalty for such failure to file a form as prescribed by statute. Id. But the

IRS argued that the failure to file the form constituted an implicit representation that he had no

tax liability and imposed a second penalty under another statute for making a “substantial

underestimate” of his tax. Id. The Court found that there was nothing in the statute “expressed

or necessarily implied” that “a taxpayer’s failure to file a declaration of estimated tax [was] the

equivalent of, a declaration estimating his tax to be zero.” Id. As the Court stated:

           The fact that the section contains no basis or means for the computation of any
           addition to the tax in a case where no declaration has been filed would seem to
           settle the point beyond all controversy. If the section had in any appropriate words
           conveyed the thought expressed by the regulation it would thereby have clearly
           authorized the Commissioner to treat the taxpayer’s failure to file a declaration as
           the equivalent of a declaration estimating his tax at zero and, hence, as
           constituting a “substantial underestimate” of his tax. But the section contains
           nothing to that effect, and, therefore, to uphold this addition to the tax would be to
           hold that it may be imposed by regulation, which, of course, the law does not
           permit…

Id. at 92. Here, as in Acker, there is nothing “express or necessarily implied” in the statute to

support the government’s position that the non-willful failure to file penalty is based on the

number of accounts and that Mr. Bittner’s non-willful failure to file 5 FBAR forms consequently

constitutes 272 separate violations.

           The courts have applied similar analysis to hold for taxpayers in cases where the

government interpreted penalty statutes well beyond their language. For example, in Rand v.

Commissioner, 141 T.C. 376 (2013), the Tax Court rejected the IRS’s position that accuracy-

based penalties in IRS Code Section 6662 should be imposed on improperly claimed tax credits,

finding that “the words of the relevant statutes do not plainly impose [such] a penalty . . .” Rand,

141 T.C. at 393 (emphasis added). As the court stated:

           The rule of lenity is an “ancient maxim” that “is perhaps not much less old than
           construction itself. It is founded on the tenderness of the law for the rights of

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           individuals; and on the plain principle that the power of punishment is vested in
           the legislative, not in the judicial department. It is the legislature, not the Court,
           which is to define a crime, and ordain its punishment.” United States v.
           Wiltberger, 18 U.S. 76, 95 (1820). Thus, under the rule of lenity statutes that
           impose a penalty are to be construed in favor of the more lenient punishment.
           Black’s Law Dictionary 1449 (9th ed. 2009). And although often considered in
           the criminal context, the rule of lenity has been applied in the civil context and
           specifically with regard to civil tax penalties.

Id.

           Here, the case turns on the interpretation of a tax related act which imposes a penalty, and

thus, it must be strictly construed. 31 U.S.C. § 5321. The government is attempting to collect a

non-willful penalty of $10,000 for each account that Mr. Bittner did not timely report. However,

there is simply no language in the statute to support the government’s assertion that the non-

willful penalty is computed by multiplying the number of foreign accounts by $10,000. See 31

U.S.C. §5321(a)(5)(B)(i). Application of the rule of lenity requires that the maximum penalty

for a non-willful failure to file an FBAR is limited to $10,000 for each year.

I.         The Government’s Position is Contrary to Analogous cases in Federal Criminal Law

           Analogous situations occur in criminal tax law, which provides authority supporting Mr.

Bittner’s position that a failure to file a tax-related information reporting form is a single act,

subject to a single penalty, and not subject to multiple penalties for omissions of specific items

on the reporting form. For example, 26 U.S.C. § 7203 makes it a misdemeanor if an individual

“willfully fails … [to file] a return or … supply … information [on the return], at the time or

times required by law…” 26 U.S.C. §7203. Thus, the willful failure to file a return is a

misdemeanor. But under the government’s position here, it could charge separate misdemeanors

for each item that should have been provided on a single unfiled return. For example, if the

return required entry of ten items of income, the government could charge ten misdemeanors.




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           The Fifth Circuit rejected this very position in United States v. Chrane, 529 F.2d 1236

(5th Cir. 1976). There, a taxpayer filed a protest-type tax return that gave his name, address and

identifying information, but contained no other information. Id. at 1237. The government

charged him with willful failure to file a tax return under 26 U.S.C. § 7203 as well as a separate

willful failure to supply information under the same Code section. Id.

           The Fifth Circuit held that Chrane had committed only a single offense and could not be

penalized twice. Id. at 1238. The Court stated that “[w]hether Chrane committed one offense or

several offenses is a question of legislative intent,” and “[t]o determine whether separate offenses

may be carved out of a single incident, the offenses should be examined to see whether each

requires proof of a fact that the other does not.” Id. The Court reasoned that proof that Chrane

was required to file a return but willfully filed only a blank form was sufficient to establish either

violation, and therefore “[t]his single omission could not have been intended [by Congress] to be

two offenses.” Id.

           The Court pointed out that “[t]he matter hardly seems ambiguous, … but if it is, doubt

must be resolved against turning a single transaction into a multiple offense.” Id. (citing Bell v.

United States, 349 U.S. 81 (1955)). Bell involved the Mann Act which prohibited the interstate

transportation of “any woman or girl” for immoral purposes. Bell, 349 U.S. at 82. Bell drove two

women in a single trip across state lines for which he was charged and convicted of two counts

of violating the Mann Act. Id. The Supreme Court held that, although Congress could have

made transportation of each woman a separately punishable offense, it did not clearly do so and

“if Congress does not fix the punishment for a federal offense clearly and without ambiguity,

doubt will be resolved against turning a single transaction into multiple offenses ….” Id. at 84.




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           The Fifth Circuit also cited its earlier opinion in United States v. Deaton, 468 F.2d 541

(5th Cir. 1972). Deaton concealed two escapees for which he was convicted of two violations of

18 U.S.C. §1072, punishing anyone who “conceals any prisoner after his escape from the

custody of the Attorney General …” Id. at 543 n.1. The Court held that Deaton had committed

only a single violation of the statute, quoting the Supreme Court’s opinion in Bell:

           About only one aspect of the problem can one be dogmatic. When Congress has
           the will it has no difficulty in expressing it - when it has the will, that is, of
           defining what it desires to make the unit of prosecution and, more particularly, to
           make each stick in a faggot a single criminal unit. When Congress leaves to the
           Judiciary the task of imputing to Congress an undeclared will, the ambiguity
           should be resolved in favor of lenity. . . . It may fairly be said to be a
           presupposition of our law to resolve doubts in the enforcement of a penal code
           against the imposition of a harsher punishment.

Id. at 545 (citing Bell, 349 U.S. at 83).

           Applying Bell and its progeny here, Mr. Bittner’s failure to timely file FBARs are single

acts subject only to single penalties. Mr. Bittner, without willfulness, failed to file an FBAR

form once a year for five years. The government alleges he should be punished not for each

form, but separately for each bank account that he had a financial interest in (even though he was

required only to provide the number of such accounts), resulting in 272 separate penalties.

However, the statute at issue simply penalizes “any violation” of the requirement to file an

FBAR form. 31 U.S.C. § 5321(a)(5)(B). Failing to file an FBAR form automatically results in

failure to report all the accounts that should have been reported on that form, but does not result

in separate “violations.”

           As the Fifth Circuit explained in Chrane, “[t]o determine whether separate offenses may

be carved out of a single incident, the offenses should be examined to see whether each requires

proof of a fact that the other does not.” Chrane, 529 F.2d at 1238. In short, there is nothing in the

statute that imposes a separate penalty for each account omitted: “if Congress does not fix the


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punishment for a federal offense clearly and without ambiguity, doubt will be resolved against

turning a single transaction into multiple offenses ….” Bell, 349 U.S. at 84.

J.         Boyd v. United States, Case No. CV 18-803-MWF (JEMx), 2019 WL 1976472 (C.D.
           Cal. Apr. 23, 2019) was Wrongly Decided.

           The sole authority supporting the government’s position is the district court opinion in

Boyd v. United States, 2019 WL 1976472 (C.D. Cal. Apr. 23, 2019), on appeal (9th Cir. No. 19-

55585). Boyd, however, was wrongly decided.

           Boyd was a United States citizen who in 2010 had financial interests in or signatory

authority over 14 financial accounts in the U.K. Id. at *1. She failed to file an FBAR form

reporting those accounts. Id. at 1–2. The IRS determined that her failure to file was non-willful,

and calculated a penalty based on the number of accounts. Id. Unlike Mr. Bittner’s case where

the IRS imposed a flat $10,000 penalty for each account, the IRS applied internal “mitigation”

provisions to reduce the individual penalties. Id. at *2. Nevertheless, the IRS imposed a total

penalty of $47,279 for Boyd’s failure to file a single FBAR. Id.

           Boyd argued that the maximum penalty that could be imposed under the statute was

$10,000. Id. at *3. The court, however, upheld the imposition of the penalty based on the bank

accounts. The government relied on 31 U.S.C. § 5321(a)(B)(ii), which provides: “No penalty

shall be imposed ... with respect to any violation if ... (I) such violation was due to reasonable

cause, and (II) the amount of the transaction or the balance in the account at the time of the

transaction was properly reported,” which it argued “made clear that each violation relates to

each ‘account,’ since Congress used the singular form of the word.” Id. at *4. The government

also noted that a willful “FBAR penalty can be the greater of $100,000 or 50 percent of the

‘balance in the account at the time of the violation.’” Id. The government argued that, Congress’s




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use of the singular forms of “account” and “balance,” indicated that “a violation relates to one,

and only one account.” Id.

           The court acknowledged that “section 5321 [is] somewhat unclear as to whether the

$10,000 negligence penalty applies per year or per account,” and that both were “reasonable

interpretations.” Id. The court agreed with the government’s interpretation, however, “in light of

the prominence of ‘transactions’ and ‘accounts’ in the language of section 5321…” Id. at *5.

           Respectfully, the court’s reasoning is wrong. To begin with, the court’s reasoning that

“Congress’s use of the singular forms of “account” and “balance,” indicated that “a violation

relates to one, and only one account” is refuted by the Fifth Circuit’s analysis in Deaton of

similar language in the Mann Act:

           The presence of the adjective “any” and singular nouns in the Mann Act [“. . . any
           woman or girl”] was not used in Bell as a basis for a judicial finding of a clear
           legislative intent to punish a defendant separately for each woman or girl he
           transports by his single course of action. In fact that approach was essentially
           what was unsuccessfully urged by the dissenters. Similarly the use in the instant
           statute of the adjective “any” and a singular noun and pronoun [“. . . conceals any
           prisoner after his escape”] is not sufficient authority for a judicial pronouncement
           that Congress clearly intended that the number of sentences a man may be given
           for a single course of action of concealment could be determined by adding up the
           number of escapees concealed. Furthermore, as with the Mann Act, the legislative
           history of Sec. 1072 is silent as to what Congress intended to be the allowable unit
           of prosecution and punishment.

Deaton, 468 F.2d at 545–46

           Instead, the court should have looked to the statutory language to see if Congress

intended that each specific item omitted from an FBAR form was to be separately punished. The

most important provisions to look at are those that impose the penalty and limit the total penalty.

Both the willful and non-willful penalty are authorized by 31 U.S.C. §5321(a)(5)(A), which

provides that “The Secretary … may impose a civil money penalty [in the singular] on any

person who violates … section 5314.” 31 U.S.C. § 5321(a)(5)(A) (emphasis added). The non-


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willful penalty is then limited by section 5321(a)(5)(B)(i), which provides that “the amount of

any civil penalty imposed under subparagraph (A) shall not exceed $10,000.” 31 U.S.C. §

5321(a)(5)(B)(i) (emphasis added). Both these provisions are written in the singular. The

clearest reading of these statutory provisions is that a non-willful violation of section 5314 is

subject to one civil penalty not to exceed $10,000.

           Instead of focusing on these operative provisions which support a single form penalty, the

government and the court looked to a safe harbor provision that was intended to benefit innocent

filers. It provides there is no penalty if there was reasonable cause and if “the balance in the

account at the time of the transaction was properly reported.” 31 U.S.C. § 5321(a)(5)(B)(ii).

Since there would be no penalty if the “balance in the account” was timely reported, the phrase

“the balance in the account at the time of the transaction was properly reported” is confusing and

unclear. What does “the balance … at the time of the transaction” refer to? Apparently, this was

meant to cover situations where a filer non-willfully failed to file, but later corrects the filing and

supplies the information. Because this provision is poorly written and unclear, the fact that it

refers to “the account” in the singular is of little significance. Certainly, it does not justify

ignoring the provisions that actually impose and limit the penalty. Contrary to the court’s

statement referring to the “prominence” of the words “transactions” and “accounts” in the

section 5321, those words are not in fact “prominent.” The word “account” in the singular

appears only in the safe harbor, but not in the statutory provisions actually imposing or limiting

the non-willful penalty. See 31 U.S.C. § 5321(a)(5)(A) & (a)(5)(B)(ii).

           To understand how the willful penalty worked, the government and court did just that –

look at the provisions actually imposing that penalty. There, they found that those provisions

expressly tied the willful penalty to “the balance in the account at the time of the violation.” 31



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U.S.C. § 5321(a)(5)(D)(ii). But no such language appears in the provisions imposing the non-

willful penalty. Congress included the word “account” in the willful penalty provision and

omitted it from the non-willful provision for a reason ‒ the number of accounts is irrelevant for

determining the amount of the assessible penalty for a non-willful violation. See Dept. of

Homeland Sec. v. MacLean, 574 U.S. 383, 134 S.Ct. 913, 919 (2015) (“Congress generally acts

intentionally when it uses particular language in one section of a statute but omits it in another.”).

           Moreover, the court’s interpretation places far too much emphasis on the use of

“account” rather than “accounts.” Congress, in 1 U.S.C. § 1, provided that “[i]n determining the

meaning of any Act of Congress, unless the context indicates otherwise ‒ words importing the

singular include and apply to several persons, parties or things.” Accordingly, when a statute is

unclear as to whether the singular or plural applies, the singular shall include the plural. Thus,

in the FBAR context ‒ which requires a single form for all foreign accounts ‒ the language of

“account” and “relationship” includes “accounts” and “relationships.”

           In addition, the court in Boyd did not mention, and may have been unaware of, the fact

that prior to 2004 there was no penalty whatsoever for a non-willful failure to file an FBAR,

which, as discussed above, strongly supports Mr. Bittner’s position that the non-willful penalty is

per form and limited to $10,000, not per account and unlimited as the government argues.

           Finally, the court in Boyd misapplied the rule of lenity applied in Acker. The court stated

correctly that the rule of lenity “only dictates that the Court should choose the more lenient of

two reasonable interpretations.” Boyd, 2019 WL 1976472, at *5. Although the court recognized

that “section 5321 [is] somewhat unclear as to whether the $10,000 negligence penalty applies

per year or per account,” and that both were “reasonable interpretations,” it ignored its own

statement of the rule of lenity and chose what it felt was “the more reasonable interpretation.”



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Id. at *4. However, the government’s position in Boyd and here is certainly not the more lenient

interpretation, as it results in absurdly disproportionate and punitive penalty assessments.

           In short, the Boyd court was incorrect. Given the absence of any clear statutory language

imposing separate penalties for each item omitted from an FBAR form, the rule of lenity requires

that a failure to file such form is subject to a single penalty.

                                         V. CONCLUSION AND PRAYER

           In sum, the plain language of the statute, supported by the applicable regulations and

agency guidance, limits a non-willful penalty to a maximum of $10,000 for the single violation

of failing to timely file an annual FBAR ‒ it is not computed on a “per account” basis. In

contrast, the government’s interpretation is not in line with principals of statutory construction

and leads to absurd and inconsistent results, which have severe implications for Mr. Bittner and

all taxpayers.

           For the foregoing reasons, Defendant Alexandru Bittner respectfully requests that the

Court grant his Motion for Partial Summary Judgment and award Defendant such other relief to

which he may be entitled.




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                                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 11, 2020 a true and correct copy of the
foregoing was electronically filed with the Clerk of Court using the CM/ECF system, which will
send notification of such filing to the following:

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